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UNI'I`ED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

In Re:
Case No: 8:18-bk-9240-RCT
Jeanna Sue Reedy, Chapter 7

Debtor(s).

CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL REAL ESTATE
SERVICES AND LISTING AGENT TO PROCURE
CONSEN'I`ED PUBLIC SALE PURSUANT TO 11 U.S.C. 327 328 AND 330

Stephen Meininger, as Chapter 7 Trustee (the “Trustee”) for the above referenced

debtor(s) (together, the “Debtor”), by and through the undersigned counsel, files this Application

 

for entry of an order authorizing retention of (l) BK Global Real Estate Services (“§_KR_E_S”) under
the terms set forth in the agreement (the “BKRES Agreement”) attached to BKRES’ Aftidavit of
Disinterestedness (the “BKRES Aftidavit”) and (2) Tracey Bitonti of Irongate Inc.,
Realtors (“Listing Agent”) under the terms of the agreement (the “Listing Ag;eement”) attached
to Listing Agent’s Affidavit of Disinterestedness at (the “Listing Agent Aftidavit”). In support
thereof, the Trustee respectfully states as follows:

PRELIMlNARy STAT§MENT

Trustee requests approval to retain BKRES and Listing Agent, at no cost to the
estate, to negotiate with and persuade the first lienholder on certain real property in which the
estate has no equity to (l) allow Trustee to sell such property at the highest price that the market
will bear, (2) waive the resulting deficiency claim and (3) pay a ll U.S.C. § 506 surcharge to
provide a carveout for the benefit of the estate and pay all other sale expenses, including a 6%
brokerage commission that will be shared equally by BKRES and Listing Agent only upon the

closing of a sale that is approved by this Court.

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BKRES and its affiliates have proprietary technology and a national team of
experienced loan servicing specialists, asset managers, negotiators, trustee relation managers, real
estate brokers and agents, closing specialists and attorneys with extensive experience in procuring
the consent of mortgage lenders and servicers to sell over-encumbered properties and provide
significant cash recoveries to selling estates with no equity, through the Consented SaleTM process
described herein.

The proposed agreements are attached and provide that BKRES and Listing Agent
will not be entitled to any compensation from the estate whatsoever under any circumstances They
will only receive and share a customary brokerage commission that is paid by secured creditor as
a ll U.S.C. § 506 surcharge approved by this Court.

The Trustee (1) believes that hiring BKRES and Listing Agent to pursue a
Consented SaleTM will likely result in secured creditor paying a carveout for the benefit of the
estate With proceeds from the public sale of an asset in which the estate has no equity and
(2) expects to obtain secured creditor’s agreement to a Consented SaleTM, and bring a separate
motion seeking this Court’s approval of the procedures, terms and conditions by which the over-
encumbered property will be sold, within the coming months.

JURlSDlCTIoN

This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157 and
1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N),
and (O).

Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

BACKGROUND

On 10/26/2018 the Debtor commenced this case by filing a voluntary petition for relief

under Chapter 7 of the United States Bankruptcy Code.

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Thereafter, the Trustee was appointed as the Chapter 7 trustee in this case.

The Trustee held and concluded the 341 meeting on 11/29/2018.

The Debtor is the sole owner of real property located at 4079 Navajo Avenue Dayton, OH
45424 (the “B_r_qm_rty”). The Debtor has not claimed the Property as exempt and, upon information
and belief`, the Property is vacant.

The Debtor has equity in the Property. The Debtor’s schedules reflect that the Property is
currently Worth $75,000.00, but is subject to a first mortgage lien (the “Senior Mortgage”) in favor
of Quicken Loans, Inc. (the “Secured Creditor”) in an amount exceeding $57,700.00.

The Trustee, after reviewing certain materials, including (without limitation) the
BK ScoreTM', sales analysis report and opinion of value for the Property provided by BKRES and
Listing Agent, has determined it to be in the best interest of` the Debtor’s estate and all creditors to
negotiate to obtain Secured Creditor’s agreement and consent (“M”) to:

a. sell the Property to whichever third party Trustee determines to have made the
best qualified offer during a public sale approved by the Court;

b. buy the Property from the Debtor’s estate if (and only if) no such offer is made;

c. release the Senior Mortgage and otherwise waive all of its claims against the
estate with respect to the Property (including any deficiency claims resulting
from the proposed sale); and

d. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with
the proposed sale, including the payment of a 6% real estate brokerage

commission to BKRES and Listing Agent and reimbursement of their out-of-

 

' The BK ScoreTM is a 100-point rating that is generated by a proprietary algorithm from 10 unique property
attributes in order to consistently measure sales confidence and predict market value.

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pocket expenses, and provide a carveout for the benefit of allowed unsecured
creditors of the Debtor’s estate.
Trustee expects BKRES and Listing Agent to obtain Secured Creditor’s Consent and bring
a separate motion seeking an order approving the sale of the Property (the “Motion to Approve
M”) within several months of the entry of` the order sought by this Application.
By this Application, the Trustee requests authority pursuant to Sections 327, 328(a) and
330 of the Bankruptcy Code to (a) retain BKRES and Listing Agent to procure Secured Creditor’s
Consent, and (b) approve Secured Creditor’s payment of the fees described below directly to
BKRES and Listing Agent at closing of the sale of the Property, if and when the Consent and
Motion to Approve Sale are granted.

APPLchTloN

Section 328(a) of the Bankruptcy Code provides, in relevant part, that a debtor “with the
court’s approval, may employ or authorize the employment of a professional person under section
327...on any reasonable terms and conditions of employment, including on a retainer, on an hourly
basis, on a fixed percentage or fee basis, or on a contingent fee basis.” ll U.S.C. § 328(a). Section
330 of` the Bankruptcy Code permits the Court to “award to a trustee. .. or a professional person
employed under section 327. . .(A) reasonable compensation for actual, necessary services
rendered [by such party]... and (B) reimbursement for actual, necessary expenses.” 11 U.S.C.
§ 330(a)(1).

As further described in the materials attached to their affidavits, BKRES2 and Listing

Agent have extensive experience obtaining the consent and agreement of mortgage lenders and

 

2 BKRES is the broker affiliate of BK Global (http://www.bkginc,com/).

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servicers to the sale of their collateral and resolution of any resulting unsecured claims in order to
produce a recovery for estates from over-encumbered assets in which the estate has no equity,

The Trustee believes that the highest and best value for the Property will be generated
through a sale in which the Property is widely marketed to the public and offered at the highest
price that the market will bear. The Trustee further believes that such a sale is in the best interest
of the Debtor’s estate, but can only be achieved if Secured Creditor’s Consent is first obtained.
That is why the Trustee believes that retaining BKRES and Listing Agent to obtain Secured
Creditor’s Consent is in the best interests of the Debtor’s estate.

In no event will the estate have any obligation to pay BKRES or Listing Agent. The terms
of the BKRES Agreement and Listing Agreement provide that BKRES and Listing Agent are only
entitled to payment if and when (a) Secured Creditor grants its Consent, (b) the Motion to Approve
Sale is granted and (c) the Property is sold, in which event BKRES and Listing Agent will receive
and share a 6% real estate brokerage commission at closing in accordance with the order approving
the sale.

BKRES and Listing Agent will not be entitled to any fees if Secured Creditor does not
grant its Consent or the Court does not grant the Motion to Approve Sale.

The Trustee submits that the terms of employment and compensation as set out in the
BKRES Agreement and Listing Agreement are reasonable in light of the extensive experience of
BKRES and Listing Agent and the nature of the services they provide.

BKRES attested that it is a disinterested person within the meaning of Section 101(14) of
the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and 2016(a). Attached

hereto is an Affidavit of Disinterestedness of BKRES. BKRES also attests, pursuant to

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Bankruptcy Rule 2016, that it shall not split or Share its fee with any individual or entity other than
Listing Agent.

Listing Agent attested that it is a disinterested person within the meaning of
Section 101(14) of the Bankruptcy Code and Federal Rules of Bankruptcy Procedure 2014 and
2016(a). Attached hereto is an Affidavit of Disinterestedness of Listing Agent, Listing Agent also
attests, pursuant to Bankruptcy Rule 2016, that it shall not Split or share its fee with any individual
or entity other than BKRES.

CoNCLUSloN

F or the foregoing and all other necessary and proper purposes, the Trustee Seeks the Court’s
authority to retain BKRES and Listing Agent in this case, and requests that the Court approve the

compensation arrangements set forth in the BK Agreement and Listing Agreement pursuant

   
  

to Sections 327, 328(a) and 330 of the Bankruptcy ode.

Dated: January 18, 2019

 

 
 
 
  
  

Stephen
Chapter 7
707 N. Fr
Tampa, FL 3
813.301.1025 \-

CERTIFICATE OF SERVICE

l certify that on January 18, 2019, a true and correct copy of the foregoing was provided
by U.S. mail and/or electronic delivery to: l
U.S. Trustee, USTPRegion21.TP.ecu(ci)usdoi.gov; :
Jeanna Reedy, 1071 Donega.n Road, Lot llSl, Largo >(, 33771

Charles Moore, Esq., cgmpal@aol.com

 

 

"/Stephen L. Mei inge@`rustee

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

In re: ` case No. 13-09240
Chapter 7
Jeanna Reedy

Debtors /

 

AFFIDAVIT OF TRACEY BITONTI lN SUPPORT OF APPLICATION
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND lRONGATE INCQ
REALTORS TO PROCURE CONSENTED PUBL_IC SALE PUR_SUANT TO 11

U.S.C. § 327, 328 AND 330

STATE OF OHIO )
)
COUN'I`Y OF Montgomery )

Tracey Bitonti, being duly sworn, says:
l. I am a real estate agent duly licensed by the State of Ohio.

2. l am an agent of lrongate Inc., Realtors a Ohio Corporation, with
corporate offices located at 4461 Far Hills Ave Dayton, OH 45429 (“Listing Agen ”).

3. l am familiar with the Application to Retain Irongate Inc., Realtors,
filed by the Trustee (“Application“) and the property described therein.

4. I believe that I am experienced and qualified to represent the Trustee
in connection with the marketing and sale of the real property located at 4079 Navajo
Avenue Dayton, OH 45424 (the “Property”).

5 . Irongate Inc., Realtors has agreed to accept employment pursuant to
the terms and conditions set forth in the Application and the proposed commission
structure Based upon my experience and knowledge of the real estate market, I believe
that the commission structure proposed to be paid to Listing Agent does not exceed
customary commissions in the applicable geographical area and are reasonable for the type
of employment proposed.

 

 

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6. Neither I nor any member ofIrongate Inc., Realtors hold or represent
any interest adverse to the estate with respect to the matters for which we are to be
employed and we are disinterested persons within the meaning of 11 U.S.C. § 101(14), as
required by § 327(a).

7. To the best of my information and belief, neither I nor the other
members of this firm have any connection with the Debtors, their creditors, or any other
party in interest or their respective attorneys or accountants, the U. S. Trustee, or any person ‘
employed in the office of the U.S. Trustee, as required by Rule 2014 of the Federal Rules
of Bankruptcy procedure except as set forth below.

8. I represent no interest adverse to the Debtors or its estate in the
matters upon which I am to be engaged.

FURTHER AFFIANT SAYETH NAUGHT.

   

 

Irongate Inc., Realtors

The foregoing instrument was sworn to_ and subscribed before me this § day of

§§ng m ,20£.

NOTARY PUBLIC

7£

Notary Public, State of Ohio

n
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EXCLUS|VE RlGHT TO SELL CONTRACT @

ADOPTED BY THE MULT|PLE LlSTlNG SERV|CE OF THE DAYTON REALTORS®
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This Exclusive Right to Sell Contract(“Contract") is made between §b-.FL;¢\ M¢¢§g.‘ni e.( 85 :§ badge
£¢ j\v.. €s»‘\'qfl- ,=£ :S¢g,ngg B;q¢=` (“Owner,” whe er one or more), whose

address is

and Irongate Realtors (“Broker"), whose address
is 4461 Far Hills Ave. Kettering, OH 45429

1. Exc|usive Right to Sell. ln consideration for Broker’s efforts to procure a purchaser, and for Broker’s acceptance cf
the duties as Owner’s exclusive agent, Owner grants to Broker the exclusive right to sell the real property (the “Prcperty")
located at and commonly known as (use Street location and lot number or size): P7000202758

4079 Navajo Dr Ave. Dayton, OH 45424
The Property includes the features shown on the Profile Sheet attached to this Contract.

2. Listing Period. This Contract shall begin on the date and time last signed below and shall expire at 12:00
Nlidnight on (the “Listing Period”).

3. Terms of Sale. The Property will be offered for sale at a price of $ . Owner agrees
to convey marketable title to the Property by general warranty deed with release of dower.

4.Brokerage Fee. lf the Property is sold during the Listing Period, Owner shall pay Broker a brokerage fee of (insert
dollar amount cr percentage of total sales price) Six Percent (6%) . This right to a brokerage fee applies to
any sale during the Listing Period, whether the Property is sold through Broker, by Owner’s own efforts, or otherwise, and
applies regardless of the amount of the sales price accepted by Owner. For purposes of this Contract, the Property is
deemed "sold“ when (a) Owner receives a written offer to purchase the Property for not less than the price stated in
Paragraph 3, and othen/vise upon the terms and conditions set forth in this Contract, from a ready, willing and able
purchaser; or (b) Owner conveys or enters into a contract to convey the Property on any other terms and conditions
acceptable to Owner. ln addition, Broker shall be entitled to the same brokerage fee if the Property is sold within the 45
day period following the expiration of the Listing Period (the "Ten'nina| Period”), to any person (or anyone acting on that
person’s behalf) with whom Broker had made contact relative to the sale of the Property before the expiration of the Listing
Period. l-lowever, this right to a brokerage fee with respect to a sale during the Terminal Period shall not be operative if the
Property is then listed with another real estate broker who will receive the brokerage fee.

5.0ther Brokers. Owner authorizes Broker to list the Property in any lVlultiple Listing Service. Owner authorizes
Broker to offer compensation in accordance with Broker's company pc|icy, which is to offer compensation to (check ii

 

 

 

applicable): Subagents Compensation amount
X Buyer Brokers Compensation amount 2%
(State compensation as dollar amount or percentage of sales price)
Owner (check one) X has has not received the Consumer Guide to Agency Re|ationships provided by Broker. |f

 

 

the Consumer Guide to Agency Relatlonships provided by Broker so states, all licensees in the brokerage are hereby
appointed to represent Owner.

6.Dual Agency. |f a prospective buyer of the Property is represented by Broker. cr any agent of Broker, or if the
prospective buyer is an employee or agenth Broker, Broker will be considered a “dual agent” (that is, agent of both Owner
and the buyer) in the transaction lf this situation arises, Owner is willing to permit Broker’s dual agency ro|e, subject to
Ownei*s consent as outlined in the Agency Disclosure Statement.

7.0wner’s Representations. Owner represents to Broker that (a) Owner is the sole owner of and has exclusive
control of the Property; (b) Owner is fully authorized and able to enter into and perform this Contract; (c) to the best ol
Owner’s knowledge, no latent defects are present in the Propertyl no toxlc, explosive or othenrvise hazardous substances
have been stored, disposed of, concealed within or released on or from the Property. and no other adverse environmental
conditions affect the Property. except as set forth in the Residentia| Property Disclosure Form and (d) Owner has been
advised of the requirement to provide to prospective purchasers a Residentlal Property Disclosure Form in accordance with
Ohio law.

8. Seller Content License. Seller may provide content, such as photos or videos of the Property (“Seller Contenl") to
the Broker. Seller grants to Broker a non-exclusivel perpetual, world-wide, transferable, royalty free license to sub-license
(including through multiple tiers), reproduce, distributel displayl perform and create derivative works of the Seller Content.
Seller warrants it has the authority to provide this license, and that Seller Content does not violate any third party intellectual
property rights or laws. Seller agrees to execute any further documents that are necessary to effect this license.

Owner’s lnitials:

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DAYTON REALTORS®
EXCLUS|VE R|GHT TO SELL CONTRACT

Property Address: 4079 Navajo Ave. Dayton, OH 45424

9. Falr Housing Statement. lt is illegal, pursuant to the Ohio Fair Housing Law, Division (H) cf Section 4112.02 of the
Revised Code and the Federa| Falr Housing law, 42 U.S.C.A. 3601, as amendedl to refuse to sell, transfer, assign, rent,
lease, sublease or finance housing accommodations refuse to negotiate for the sale or rental of housing accommodations
or otherwise deny or make unavailable housing accommodations because of race, color, religion, sex, familial status as
defined in Section 4112.01 of the Revised Code. ancestry, military status as defined in that section, disability as defined in
that section, or national origin or to so discriminate in advertising the sale or rental of housingl in the financing of hcusing,
or in the provision of real estate brokerage services

it is also illegai, for profit, to induce or attempt to induce any person to sell or rent a dwelling by representations
regarding the entry into the neighborhood of a person or persons belonging to one of the protected classes.

10. Lead-Based Paint Disclosure. Owner has been advised that if the Property contains housing constructed
before 1978, Owner is required (a) to provide to the purchaser a federally approved lead hazard information pamphlet;
(b) to disclose to Broker and the purchaser the presence of any known lead-based paint and/or lead-based paint hazards on
the Property; and (c) to provide to Broker and the purchaser any additional information, records or reports in
Owner’s possession or available to Owner pertaining to lead-based paint and/or lead-based paint hazards in the
Property. in addition, Owner must provide to the purchaser a 10»day opportunitth conduct a risk assessment or inspection
of the Property for the presence of lead-based paint and/or lead-based paint hazards, unless waived by the purchaser in
writing. Fina||y, any contract for the sale of the Property shall include an attachment containing a Lead Warning Statement
as weil as the information and disclosures described above. Owner agrees to comply with these requirements and to
indemnify, defend, and hold Broker harmless against any claims, damagesl losses or expenses, including attorney’s fees,
arising from Owner’s violation of these requirements

11. Use of Personal lnformation. ln performing services under this Agreement, Broker may collect from Owner non-
public personal information which may includel but is not limited to, financial information, social security numbers and
account numbers ("Personal lnformation“). Owner authorizes Broker to disclose this Personai information to third parties
including (i) mortgage companies and banks, (ii) insurance companies (including title insurance companies), and (iii) real
estate service providers, to the extent necessary to facilitate and effect the transaction(s) contemplated by this Agreement
Broker will not otherwise disclose Persona| information to third parties except as authorized by Owner or as required by
law.

12. Miscellaneous. (a) if the Property is located in a jurisdiction requiring a housing inspection before transfer, Owner
shall immediately make application for any required housing inspection and furnish Broker with a copy of the resulting
certincate. (b) Owner agrees to make the Property available for showing at ali reasonable times by Broker, its associates
and other brokers designated by Broker. (c) During the Listing Period, Broker may place “For Sale" signs on the Property.
(d) Owner (please initial choice) X authorizes does not authorize the use of a |ock-box. if a lockbox is
used, Owner releases Broker and Broker's agents from any liability resulting from the use of the iockbox except any loss or
damage resulting from the gross negligence or intentional acts of Broker or Broker's agents (e) Broker is authorized to
disclose all information pertaining to the Property to ali parties involved with its marketing and/or sale, including all MLS.
participants Broker is further authorized to place information about the Property in any other informational service medium
to advertise and promote the sale of the Property.

 

 

13. Signatures (Owners of Record). Signatures are required below by all parties with an interest in the property or
their authorized legal representative(s).

 

 

 

 

 

 

 

Owner Date Time (Aivl / Pivl) Phone

Owner Date Time (Alvl / PM) Phone

The undersigned Broker accepts the exclusive right to sell agency for the Property on the terms stated above.

Broker IrOngal`-€ R€altOrS Date Time (AM / PM) Phone

Bv Tracey Bitonti Date 1 /3 / 1 9 Time (AM / PM) Phone

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